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  7
  8                      UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
 10
      ALEC BUCUR                                  CIVIL ACTION NO. 8:16-CV-808
 11
 12                         Plaintiff,
                                                  COMPLAINT FOR VIOLATIONS
 13                           v.                     OF THE FAIR CREDIT
                                                   REPORTING ACT AND THE
 14   EXPERIAN INFORMATION                            CONSUMER CREDIT
 15   SOLUTIONS, INC.                              REPORTING AGENCIES ACT
       and
 16   EQUIFAX INFORMATION                          DEMAND FOR JURY TRIAL
      SERVICES LLC
 17    and
      TRANS UNION, LLC
 18
 19                         Defendants.

 20
 21                           PRELIMINARY STATEMENT
 22         1.    This is an action for damages brought by an individual consumer, Alec
 23   Bucur against Experian Information Solutions, Inc., Equifax Information Services
 24   LLC, and Trans Union, LLC for violations of the Fair Credit Reporting Act
 25   (“FCRA”), 15 U.S.C. §§ 1681, et seq., as amended and the Consumer Credit
 26   Reporting Agencies Act (“CCRAA”), Cal. Civ. Code § 1785, et seq.
 27                           JURISDICTION AND VENUE
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  1         2.     Jurisdiction of this Court arises under 15 U.S.C. § 1681p, 28 U.S.C. §§
  2   1331 and 1337.
  3         3.     Venue lies in this district pursuant to 28 U.S.C. § 1391(b).
  4
  5                                       PARTIES
  6         4.     Plaintiff Alec Bucur is an adult individual residing in Irvine, CA.
  7         5.     Defendant Experian Information Solutions, Inc., (“Experian”) is a
  8   consumer reporting agency that regularly conducts business in the Central District
  9   of California, and which has its headquarters and a principal place of business
 10   located at 475 Anton Boulevard, Costa Mesa, CA.
 11         6.     Defendant Equifax Information Services LLC (“Equifax”) is a
 12   consumer reporting agency that regularly conducts business in the Central District
 13   of California and which has its headquarters and a principal place of business
 14   located at 815 Gate Drive, Suite 102, Mount Laurel, NJ.
 15         7.     Defendants Trans Union, LLC (“Trans Union”) is a consumer
 16   reporting agency that regularly conducts business in the Central District of
 17   California and which has a principal place of business located at 1510 Chester Pike,
 18   Crum Lynne, PA.
 19
 20                             FACTUAL ALLEGATIONS
 21         8.     Defendants have been reporting derogatory and inaccurate statements
 22   and information relating to Plaintiff and Plaintiff’s credit history to third parties
 23   (“inaccurate information”) from at least May 2014 through present. The inaccurate
 24   information includes accounts with Capital One Bank USA, N.A, SYNCB/ Banana
 25   Republic, Cap One, HSBC/ Best Buy, and debt collection accounts with Midland
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  1   Funding, CMRE, Pinnacle Credit Service, LVNV Funding, LLC and Credit
  2   Collection Service, as well as personal identifying information.
  3         9.     The inaccurate information negatively reflects upon the Plaintiff,
  4   Plaintiff’s credit repayment history, Plaintiff’s financial responsibility as a debtor
  5   and Plaintiff’s creditworthiness. The inaccurate information consists of accounts
  6   and/or tradelines that do not belong to the Plaintiff, and that actually belong to
  7   another consumer. Due to Defendants’ faulty procedures, Defendants mixed the
  8   credit file of Plaintiff and that of another consumer with respect to the inaccurate
  9   information and other personal identifying information.
 10         10.    Defendants have been reporting the inaccurate information through the
 11   issuance of false and inaccurate credit information and consumer credit reports that
 12   they have disseminated to various persons and credit grantors, both known and
 13   unknown.    Defendants have repeatedly published and disseminated consumer
 14   reports to such third parties from at least August 2014 through the present.
 15         11.    Plaintiff has disputed the inaccurate information with Experian to its
 16   representatives by following Experian’s established procedures for disputing
 17   consumer credit information.
 18         12.    Plaintiff has disputed the inaccurate information with the Experian
 19   from October 2015 through the present.
 20         13.    Notwithstanding Plaintiff’s efforts, the Experian has sent Plaintiff
 21   correspondence indicating their intent to continue publishing the inaccurate
 22   information and Experian continues to publish and disseminate such inaccurate
 23   information to other third parties, persons, entities and credit grantors. Experian
 24   has repeatedly published and disseminated consumer reports to such third parties
 25   from at least August 2014 through the present.
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  1         14.    Despite Plaintiff’s efforts, Experian has never: (1) contacted Plaintiff
  2   to follow up on, verify and/or elicit more specific information about Plaintiff’s
  3   disputes; (2) contacted all third parties that would have relevant information
  4   concerning Plaintiff’s disputes; (3) forwarded any relevant information concerning
  5   Plaintiff’s disputes to the entities originally furnishing the inaccurate information;
  6   and (4) requested or obtained any credit applications, or other relevant documents
  7   from the entities furnishing the inaccurate information.
  8         15.    Despite Plaintiff’s exhaustive efforts to date, Experian has nonetheless
  9   deliberately, willfully, intentionally, recklessly and negligently repeatedly failed to
 10   perform reasonable investigations/reinvestigations of the above disputes as required
 11   by the FCRA, has failed to remove the inaccurate information and has continued to
 12   report the derogatory inaccurate information about the Plaintiff.
 13         16.    Plaintiff’s credit report and file has been obtained from Defendants and
 14   has been reviewed by prospective and existing credit grantors and extenders of
 15   credit, and the inaccurate information has been a substantial factor in precluding
 16   Plaintiff from receiving different credit offers and opportunities, known and
 17   unknown. Plaintiff’s credit reports have been obtained from Defendants by such
 18   third parties from at least August 2014 through the present.
 19         17.    As of result of Defendants’ conduct, Plaintiff has suffered actual
 20   damages in the form of lost credit opportunities, harm to credit reputation and credit
 21   score, lost wages, and emotional distress including anxiety, frustration,
 22   embarrassment and humiliation.
 23         18.    At all times pertinent hereto, Defendants were acting by and through
 24   their agents, servants and/or employees who were acting within the course and
 25   scope of their agency or employment, and under the direct supervision and control
 26   of the Defendants herein.
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  1         19.    At all times pertinent hereto, the conduct of the Defendants, as well as
  2   that of its agents, servants and/or employees, was intentional, willful, reckless, and
  3   in grossly negligent disregard for federal laws and the rights of the Plaintiff herein.
  4
  5                   COUNT ONE – VIOLATIONS OF THE FCRA
  6                                  (Plaintiff v. Experian)
  7         20.    Plaintiff incorporates the foregoing paragraphs as though the same
  8   were set forth at length herein.
  9         21.    At all times pertinent hereto, Experian was a “person” and a “consumer
 10   reporting agency” as those terms are defined by 15 U.S.C. § 1681a(b) and (f).
 11         22.    At all times pertinent hereto, Plaintiff was a “consumer” as that term
 12   is defined by 15 U.S.C. § 1681a(c).
 13         23.    At all times pertinent hereto, the above-mentioned credit reports were
 14   “consumer reports” as that term is defined by 15 U.S.C. § 1681a(d).
 15         24.    Pursuant to 15 U.S.C. § 1681n and 15 U.S.C. § 1681o, Experian is
 16   liable to the Plaintiff for willfully and negligently failing to comply with the
 17   requirements imposed on a consumer reporting agency of information pursuant to
 18   15 U.S.C. § 1681e(b) and § 1681i.
 19         25.    The conduct of Experian was a direct and proximate cause, as well as
 20   a substantial factor, in bringing about the serious injuries, actual damages and harm
 21   to the Plaintiff that are outlined more fully above and, as a result, Experian is liable
 22   to the Plaintiff for the full amount of statutory, actual and punitive damages, along
 23   with the attorney’s fees and the costs of litigation, as well as such further relief, as
 24   may be permitted by law.
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  1                   COUNT TWO – VIOLATIONS OF THE FCRA
  2                         (Plaintiff v. Equifax and Trans Union)
  3         26.    Plaintiff incorporates the foregoing paragraphs as though the same were
  4   set forth at length herein.
  5         27.    At all times pertinent hereto, Equifax and Trans Union were each a
  6   “person” and a “consumer reporting agency” as those terms are defined by 15
  7   U.S.C. § 1681a(b) and (f).
  8         28.    At all times pertinent hereto, Plaintiff was a “consumer” as that term
  9   is defined by 15 U.S.C. § 1681a(c).
 10         29.    At all times pertinent hereto, the above-mentioned credit reports were
 11   “consumer reports” as that term is defined by 15 U.S.C. § 1681a(d).
 12         30.    Pursuant to 15 U.S.C. § 1681n and 15 U.S.C. § 1681o, Equifax and
 13   Trans Union are liable to the Plaintiff for willfully and negligently failing to comply
 14   with the requirements imposed on a consumer reporting agency of information
 15   pursuant to 15 U.S.C. § 1681e(b).
 16         31.    The conduct of Equifax and Trans Union was a direct and proximate
 17   cause, as well as a substantial factor, in bringing about the serious injuries, actual
 18   damages and harm to the Plaintiff that are outlined more fully above and, as a result,
 19   Equifax and Trans Union are liable to the Plaintiff for the full amount of statutory,
 20   actual and punitive damages, along with the attorney’s fees and the costs of
 21   litigation, as well as such further relief, as may be permitted by law.
 22
 23                 COUNT THREE – VIOLATIONS OF THE CCRAA
 24                                 (Plaintiff v. Experian)
 25         32.    Plaintiff incorporates the foregoing paragraphs as though the same
 26   were set forth at length herein.
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  1         33.    At all times pertinent Experian is a “person” and a “consumer credit
  2   reporting agency” as those terms are defined by Cal. Civ. Code §§ 1785.4(j) and
  3   1785.3(d), respectively.
  4         34.     Plaintiff is a “consumer” as that term is defined by Cal. Civ. Code §§
  5   1785.3(b) and 1785.6.
  6         35.    The above-mentioned consumer reports were “consumer credit
  7   reports” as that term is defined by Cal. Civ. Code § 1785.3(c).
  8         36.    Pursuant to Cal. Civ. Code § 1785.31, Experian is liable to the Plaintiff
  9   for willfully and negligently failing to comply with the requirements imposed on a
 10   consumer credit reporting agency pursuant to Cal. Civ. Code § 1785.14(b) and §
 11   1785.16.
 12         37.    Experian’s conduct was a direct and proximate cause, as well as a
 13   substantial factor, in bringing about the serious injuries, actual damages and harm
 14   to the Plaintiff that are outlined more fully above and, as a result, Experian is liable
 15   to compensate Plaintiff for the full amount of statutory, actual and punitive
 16   damages, along with the attorneys’ fees and the costs of litigation, as well as such
 17   further relief, as may be permitted by law.
 18
 19                 COUNT FOUR – VIOLATIONS OF THE CCRAA
 20                         (Plaintiff v. Equifax and Trans Union)
 21         38.    Plaintiff incorporates the foregoing paragraphs as though the same
 22   were set forth at length herein.
 23         39.    At all times pertinent hereto Equifax and Trans Union are each a
 24   “person” and a “consumer credit reporting agency” as those terms are defined by
 25   Cal. Civ. Code §§ 1785.4(j) and 1785.3(d), respectively.
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  1         40.    Plaintiff is a “consumer” as that term is defined by Cal. Civ. Code §§
  2   1785.3(b) and 1785.6.
  3         41.    The above-mentioned consumer reports were “consumer credit
  4   reports” as that term is defined by Cal. Civ. Code § 1785.3(c).
  5         42.    Pursuant to Cal. Civ. Code § 1785.31, Equifax and Trans Union are
  6   liable to the Plaintiff for willfully and negligently failing to comply with the
  7   requirements imposed on a consumer credit reporting agency pursuant to Cal. Civ.
  8   Code §1785.14(b).
  9         43.    The conduct of Equifax and Trans Union was a direct and proximate
 10   cause, as well as a substantial factor, in bringing about the serious injuries, actual
 11   damages and harm to the Plaintiff that are outlined more fully above and, as a result,
 12   Equifax and Trans are liable to the Plaintiff for the full amount of statutory, actual
 13   and punitive damages, along with the attorney’s fees and the costs of litigation, as
 14   well as such further relief, as may be permitted by law.
 15
 16                                   JURY TRIAL DEMAND
 17         44.    Plaintiff demands trial by jury on all issues so triable.
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  2                                PRAYER FOR RELIEF
  3        WHEREFORE, Plaintiffs respectfully pray that relief be granted as follows:
  4                    (a)   Actual damages;
  5                    (b)   Statutory damages;
  6                    (c)   Punitive damages;
  7                    (d)   Costs and reasonable attorney’s fees; and
  8                    (e)   Such other and further relief as may be just and proper.
  9
 10                                               Respectfully Submitted,
 11                                               TATAR LAW FIRM
 12
 13                                       BY: _________________________
 14                                               Stephanie Tatar
 15                                               Attorney for Plaintiff
 16   DATE: April 26, 2016
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